       Case 3:20-cv-00406-AJB-DDL      Document 550      Filed 02/20/24   PageID.21425      Page
                                              1 of 1
                                        Office of the Clerk
                       United States Court of Appeals for the Ninth Circuit
                                      Post Office Box 193939                        FILED
                               San Francisco, California 94119-3939
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Molly C. Dwyer                                                                  MOLLY C. DWYER, CLERK
                                                                                  U.S. COURT OF APPEALS
Clerk of Court



                                      DOCKETING NOTICE


       Docket Number:           24-894
       Originating Case Number: 20-cv-406-AJB-DDL
       Short Title:             County of San Diego v. United States District Court for the
                                Southern District of California, San Diego

       Dear Petitioner/Counsel

       A petition for writ of mandamus and/or prohibition has been received in the Clerk's
       Office of the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. Always indicate
       this docket number when corresponding with this office about your case.

       If the U.S. Court of Appeals docket fee has not yet been paid, please make immediate
       arrangements to do so. If you wish to apply for in forma pauperis status, you must file
       a motion for permission to proceed in forma pauperis with this court.

       Pursuant to FRAP Rule 21(b), no answer to a petition for writ of mandamus and/or
       prohibition may be filed unless ordered by the Court. If such an order is issued, the
       answer shall be filed by the respondents within the time fixed by the Court.

       Pursuant to Circuit Rule 21-2, an application for writ of mandamus and/or prohibition
       shall not bear the name of the district court judge concerned. Rather, the appropriate
       district court shall be named as respondent.
